                        Case 1-18-40816-nhl     Doc 30     Filed 04/13/18     Entered 04/13/18 16:12:03

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                                        UNITED STATES BANKRUPTCY COURT                                                    C

                                         EASTERN DISTRICT OF NEW YORK                                     ~            rnifl
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                        22 Maple Street, LLC,                )                                      ?)         iS?          oc:
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                                                             )      Case No.: 18-40816-NHL                      ct)

                                      Debtor                 )
               _______________                               )


                               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE


                        PLEASE TAKE NOTICE that John T. Morrier, appears herein as counsel to interested

               party KCP Advisory Group, LLC, in its capacity as receiver for 22 Maple Street, LLC, 25 Oriol

               Drive, LLC, 59 Coolidge Road, LLC and 20 Kinmonth Road, LLC, pursuant to Bankruptcy

               Rules 2002, 9007, 9010(b) of the Federal Rules of Bankruptcy Procedures, and pursuant to 11

               U.S.C. §§ 342 and 1109 and requests that copies of all notices given or required to be given in

               this case and all papers served or required to be served in this case, be given to and served upon

               the attorneys listed below:


                                                     John T. Morrier, Esquire
                                                     Casner & Edwards, LLP
                                                     303-CongressStreet ·.
                                                     Boston, MA 02210
                                                     Tel: 617-426-5900
                                                     Fax: 617-426-8810
                                                     Email: morrier@casneredwards.com


                        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

               subsequent appearance, pleading, claim, or suit is intended or shall be deemed to waive any (i)

               right to have final orders in non-core matters entered only after de novo review by a higher court;
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(ii) right to trial by jury in any proceeding so triable herein or in any related case, controversy or

proceedings; (iii) right to have the reference withdrawn in any matter subject to mandatory or

discretionary withdrawal; (iv) right to contest jurisdiction or appropriate venue in this

proceeding; or (v) other rights, claims, actions, defenses, setoffs or recoupments which exist

pursuant to agreement, in law or in equity, all of which rights, claims, actions, defenses, setoffs

and recoupments are expressly reserved.




                                               Respectfully submitted,
                                               KCP Advisory Group, LLC, as Receiver
                                               By its attorney,


                                               Johrl T. Morrier
                                                  sne & Edwards, LLP
                                               303 ongress Street
                                               Boston, MA 02210
                                               Tel: 617-426-5900
                                               Fax: 617-426-8810
Date: April 10, 2018                           Email: morrier@casneredwards.com
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                                   CASNER

      April 10, 2018


      U.S. Bankruptcy Court, Eastern District ofN.Y.
      Conrad B. Duberstein U.S. Courthouse
      271-C Cadman Plaza East
      Suite 1595
      Brooklyn, NY 11201-1800


             Re:       22 Maple Street, LLC, Chapter 11, Case No.: 18-40816-MHL


      Dear Clerk:

      Please docket the attached Notice of Appearance and Request for Service on behalf ofKCP
      Advisory Group, LLC. If there is any issue, please contact our office.



                                                        Regards,




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          Casner & Edwards, LLP   303 Congress Street, Boston, MA 02210 j (TEL) 6I7-426.5900   I   (FAX) 6I7-426.88ro
                                                   www.casneredwards.com
